                Case 9:17-bk-00426-FMD                  Doc 170          Filed 04/09/18   Page 1 of 2
[Dodefmao] [District Order Deficient Motion, Application or Objection]




                                            ORDERED.
Dated: April 9, 2018




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            FT. MYERS DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                         Case No.
                                                                               9:17−bk−00426−FMD
                                                                               Chapter 7
Franz Josef Rosinus
aka Franz Rosinus
aka Franz J Rosinus
fdba Art Village Institute of Florida Corporation



________Debtor*________/



ORDER ABATING MOTION TO DETERMINE THAT THE AUTOMATIC STAY IS NOT APPLICABLE
             OR ALTERNATIVELY, FOR RELIEF FROM AUTOMATIC STAY

    THIS CASE came on for consideration, without hearing, of the Motion for an Order Confirming No
Automatic Stay is in Effect Contains negative notice. Phil Anderson Holdings (II), Inc.'s Motion to Determine
that the Automatic Stay is Not Applicable, or Alternatively, for Relief from Automatic Stay by Creditor Phil
Anderson Holdings (II), Inc , Doc. # 169 . After a review of the motion , the Court determines that the motion
is deficient as follows:

             The motion does not include an original or electronic signature of the movant's attorney as
         required by Fed. R. Bankr P. 9011.

            The motion does not include a signed and dated proof of service as required by Local
         Rule 9013−1.

             The prescribed filing fee of $ , as required by the Bankruptcy Court Schedule issued in
         accordance with 28 U.S.C § 1930 was not paid.

             The negative notice legend is not fully displayed on the first page as prescribed by Local
         Rule 2002−1 or the language used in the negative notice legend does not conform to the
         approved negative notice legend language as provided in Local Rule 2002−4.

              The motion does not specifically describe the property, including the legal description if
         real property, or VIN if vehicle.
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            The Motion for Referral to Mortgage Modification Mediation does not include a complete
        property address.

            The Motion for Referral to Mortgage Modification Mediation does not include the last
        four digits of the mortgage loan number.

             The Motion for Referral to Mortgage Modification Mediation does not include the name
        of the mortgage creditor.

            The reaffirmation agreement does not include a signature of both the Debtor and Creditor.

            The Chapter 11 Fee Application does not include the Chapter 11 Fee Application
        Summary required by Local Rule 2016−1(c)(2)(i) or the summary is not placed within the
        application in the location required by Local Rule 2016−1(c)(2)(i).

   Accordingly it is

   ORDERED:

   Consideration of the motion is abated until the deficiency is corrected. No additional filing fee will be
assessed for the filing of any amended motion filed for the purposes of correcting the noted deficiency.



The Clerk's Office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
